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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

NATALIE MATTHEWS and                                                              PLAINTIFFS
NICK MATTHEWS

v.                                NO. 4:16CV00253 JLH

HILTON INTERNATIONAL OF
PUERTO RICO, INC., d/b/a
Hotel Caribe Hilton; and
HILTON WORLDWIDE, INC.                                                         DEFENDANTS

                                       JUDGMENT

     Pursuant to the Order entered separately today, this action is dismissed without prejudice.

     IT IS SO ORDERED this 2nd day of May, 2017.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
